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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
NICOLE RENA MCCREA,                            )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )      Civil Action No. 16-cv-0808 (TSC)
                                               )
DISTRICT OF COLUMBIA, et al.,                  )
                                               )
               Defendants.                     )
                                               )


                                              ORDER

        Consistent with this court’s order, ECF No. 59, granting Plaintiff’s Motion for Relief

from Judgment, the Clerk of the Court is hereby directed to re-open this case. Plaintiff shall file

a Second Amended Complaint by June 22, 2018. As this court explained in its order granting the

motion, Plaintiff represented to the court during a hearing in April 2017 that she had begun

drafting her Second Amended Complaint, ECF No. 61, 4-20-17 Hearing Transcript p. 11 and,

therefore, the court will view any requests for extensions of time in which to file the Second

Amended Complaint with disfavor. ECF No. 59 at p. 5.

        Plaintiff is hereby reminded of the court’s September 8, 2016 Memorandum Opinion,

ECF No. 10, in which the court described the numerous deficiencies in her original complaint

including, but not limited to, her failure to set forth facts explaining the actions each defendant

took that she relies upon as a basis to support her claims.1 This deficiency, as well as many of

the other deficiencies the court identified, still existed in the First Amended Complaint. See ECF




1
    The court has attached a copy of the Memorandum Opinion to this order.
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No. 23. Plaintiff is hereby warned that any failure to remedy these deficiencies may result in the

court striking portions of her complaint sua sponte.

       The Clerk of the Court shall mail a copy of this order and the attached September 8, 2016

Memorandum Opinion to:

                                  NICOLE RENA MCCREA
                                   5205 East Capitol St., SE
                                    Washington, DC 20019




Date: May 4, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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